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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

******************** *
ANNIE BROWN,             *
                         *                         No. 17-253V
             Petitioner, *                         Special Master Christian J. Moran
                         *
v.                       *                         Filed: June 8, 2018
                         *
SECRETARY OF HEALTH      *                         Stipulation; influenza (“flu”) vaccine;
AND HUMAN SERVICES,      *                         Guillain-Barré syndrome (“GBS”).
                         *
             Respondent. *
******************** *

Milton C. Ragsdale, IV, & Allison L. Riley, Ragsdale LLC, Birmingham, AL, for
Petitioner;
Daniel A. Principato, United States Dep’t of Justice, Washington, DC, for
Respondent.

                             UNPUBLISHED DECISION1

       On June 7, 2018, the parties filed a joint stipulation concerning the petition
for compensation filed by Annie Brown on February 22, 2017. Petitioner alleged
that the influenza (“flu”) vaccine she received on January 6, 2016, which is
contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), caused
her to suffer Guillain-Barré syndrome. Petitioner further alleges that she suffered
the residual effects of this injury for more than six months. Petitioner represents
that there has been no prior award or settlement of a civil action for damages on
her behalf as a result of her injury.



       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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      Respondent denies that the flu vaccine caused petitioner to suffer Guillain-
Barré syndrome or any other injury.

      Nevertheless, the parties agree to the joint stipulation, attached hereto. The
undersigned finds said stipulation reasonable and adopts it as the decision of the
Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

       a. A lump sum of $110,000.00 in the form of a check payable to
          petitioner. This amount represents compensation for all damages
          that would be available under 42 U.S.C. § 300aa-15(a); and

       b. A lump sum of $1,734.74, which amount represents compensation for
          reimbursement of a State of Alabama Medicaid lien, in the form of a
          check payable jointly to petitioner and

                                          HMS
                          Attention: AL Medicaid Subrogation Unit
                              4121 Carmichael Road, Suite 205
                                  Montgomery, AL 361062

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 17-253V according to this decision
and the attached stipulation.3


       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master



       2
        The zip code of this address was corrected from the one identified in the stipulation
(“3616”).
       3
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS

                                             )
ANNIE BROWN,                                 )        No. 17-253V
                                             )        Special Master Moran
               Petitioner,                   )        ECF
                                             )
       v.                                    )
                                             )
SECRETARY OF HEALTH AND                      )
HUMAN SERVICES,                              )
                                             )
               Respondent.                   )
~~~~~~~~~~~~~~).

                                         STIPULATION _

       The parties hereby stipulate to the following matters:

       I. Petitioner filed a petition for vaccine compensation under the National Vaccine Injury

Compensation Program, 42 U.S.C. § 300aa-l0 to 34 (the "Vaccine Program''). The petition

seeks compensation for injuries allegedly related to petitioner's receipt of the influenza vaccine,

which vaccine is contained in the Vaccine Injury Table (the "Table"), 42 C.F.R. § 100.3(a).

       2. Petitioner received the flu vaccination on or about January 6, 2016.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that the vaccine caused her to develop Guillain-Barre Syndrome

("GBS"), and that she experienced the residual effects of this condition for more than six

months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages as a result of her condition.

       6. Respondent denies that the flu immunization is the cause of petitioner's alleged GBS,

and/or any other injuries or her current condition.
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        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21 (a)(l ), the Secretary of Health and Human Services will issue

the following vaccine compensation payments:

        a. A lump sum of$1 IO,OOO.OO in the form of a check payable to petitioner. This amount
        represents compensation for all damages that would be available under 42 U.S.C.
        § 300aa-15(a); and

        b. A lump sum of$1,734.74, which amount represents compensation for reimbursement
        of a State of Alabama Medicaid lien, in the form of a check payable jointly to petitioner
        and

                                                HMS
                                Attention: AL Medicaid Subrogation Unit
                                    4121 Carmichael Road, Suite 205
                                         Montgomery, AL 3616

        Petitioner agrees to endorse this payment to HMS.

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-2 l(a)(l), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        I0. Petitioner and her attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), including State compensation programs, insurance policies,




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Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

U.S.C. § 1396 et seq.)), or by entities that provide health services on a pre-paid basis.

        11. Payments made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.

        12.. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-15(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors and/or

assigns, does forever irrevocably and unconditionally release, acquit and discharge the United

States and the Secretary of Health and Human Services from any and all actions or causes of

action (including agreements, judgments, claims, damages, loss of services, expenses and all

demands of whatever kind or nature) that have been brought, could have been brought, or could

be timely brought in the Court of Federal Claims, under the National Vaccine Injury

Compensation Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out

of, any and all known or unknown, suspected or unsuspected personal injuries to or death of

petitioner resulting from, or alleged to have resulted from, the flu vaccine administered on or

about January 6, 2016 as alleged by petitioner in a petition for vaccine compensation filed on or

about February 22, 2017, in the United States Court of Federal Claims as petition No. l 7-253V.




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       14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

       15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

       I 6. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged OBS,

and/or any other injury.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION




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Respectfully submitted,

PETITIONER:


~f. ·{3~
ANNIE BROWN


ATTORNEY OF RECORD FOR                             AUTHORIZED REPRESENTATIVE
PETITIONER:                                        OF THE ATTORNEY GENERAL:



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       /   .
  /!)_/~
  . CLAY RAGSDALE
By ALLISON L. RILEY                                Deputy Director
Ragsdale L.L.C                                     Torts Branch
517 Beacon Parkway West                            Civil Division
Birmingham, Alabama 35209                          U.S. Department of Justice
(205) 290-6800                                     P.O. Box 146
                                                   Benjamin Franklin Station
                                                   Washington, DC 20044-0146


AUTHORIZED REPRESENTATIVE                          ATTORNEY OF RECORD FOR
OF THE SECRETARY OF HEALTH                         RESPONDENT:
AND HUMAN SERVICES:



NARAYAN NAIR, MIY                                  DANIEL A. PRINCIPATO
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